       Case: 23-40605    Document: 47    Page: 1    Date Filed: 11/17/2023




                                                   U.S. Department of Justice
                                                   Civil Division


                                                                Tel: 202-532-4631

VIA CM/ECF

                                                            November 17, 2023
Lyle W. Cayce, Clerk of Court
Office of the Clerk
United States Court of Appeals for the Fifth Circuit
600 S. Maestri Place, Suite 115
New Orleans, LA 70130

      RE: Texas Medical Association v. HHS, No. 23-40605

      Dear Mr. Cayce:

      I write pursuant to Fifth Circuit Rule 31.4.3.1 to respectfully request a
Level 1 extension of 30 days for the federal government’s opening brief in
the above-captioned appeal. The opening brief is currently due on
December 12, 2023, and we are requesting an extension to and including
January 11, 2024. Plaintiffs-appellees consent to this request.

       Good cause exists for the extension in light of deadlines in other
matters that make it burdensome to complete the government’s brief on the
existing schedule. Leif Overvold, the attorney with primary responsibility
for drafting the government’s brief in this appeal, is scheduled to present
oral argument on December 8, 2023, in Lake Region Healthcare Corp. v.
Becerra, No. 22-5318 (D.C. Cir.), among other briefing assignments and
internal matters. Joshua M. Salzman, who has supervisory responsibility
over this case, is also responsible for supervising the following matters:
Moyar v. Department of Defense, No. 23-5085 (D.C. Cir.) (response brief
due Dec. 4, 2023); Miller v. Kijakazi, No. 23-10790 (5th Cir.) (reply brief
due Dec. 4, 2023); Rodriguez v. Social Sec. Admin., No. 22-13602 (11th
Cir.) (oral argument scheduled Dec. 6, 2023); Fortin v. Commissioner of
Soc. Sec., No. 23-1528 (6th Cir.) (response brief due Dec. 18, 2023); Haller
v. HHS, No. 22-3054 (2d Cir.) (oral argument scheduled Jan. 3, 2024).
Additionally, Mr. Overvold will be on previously scheduled personal leave
from November 30 through December 5.
       Case: 23-40605   Document: 47     Page: 2   Date Filed: 11/17/2023




       For these reasons, the government respectfully requests a 30-day
Level 1 extension of time, to and including January 11, 2024, of the deadline
to file its opening brief in this case.


                                     Sincerely,

                                     /s/ Leif Overvold
                                     Counsel for the Appellee

Cc: All counsel of record (by ECF)
